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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION

NATIONAL ASSOCIATION FOR GUN              )
RIGHTS, INC., ET AL.,                     )
                                          )   Case No. 4:23-cv-00830-O
                  Plaintiffs,             )
      v.                                  )
                                          )
MERRICK GARLAND,                          )
IN HIS OFFICIAL CAPACITY AS               )
ATTORNEY GENERAL                          )
OF THE UNITED STATES, ET AL,              )
                                          )
                  Defendants.             )
__________________________________________)

                 AMENDED MEMORANDUM IN SUPPORT OF
              PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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                                            SUMMARY

       Consistent with Local Rule 56.3(a), Plaintiffs provide the following summary.

       Plaintiffs assert one claim under the Administrative Procedure Act, 5 U.S.C. § 706. The

elements of Plaintiffs’ claim are: (1) there is a final agency action; and (2) the final agency action,

findings, and conclusions are found to be arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law or in excess of statutory jurisdiction, authority, or limitations.

       The final agency action is Defendants’ classification of forced reset triggers as

“machineguns” and the agency’s subsequent actions based on this classification pursuing criminal

charges and civil seizures of property. This action is arbitrary, capricious, or otherwise not in

accordance with law and in excess of Defendants’ statutory limitations because a forced reset

trigger does not shoot automatically more than one shot, without manual reloading, by a single

function of the trigger.

       The following undisputed material facts support Plaintiffs’ Motion for Summary

Judgment:

   •   The Bureau of Alcohol, Tobacco, Firearms, and Explosives has made a final determination
       to classify forced reset triggers as “machineguns” (e.g., Pls.’ App’x 112-177; Pls.’ App’x
       179-193; Pls.’ App’x 197-253; Pls.’ App’x 195-196; Pls.’ App’x 498-499 ¶ 42; Pls. App’x
       274-275, Prelim. Inj. Hr’g. Tr. 105:24-106:4);

   •   For each and every round fired, the trigger moves forward into its reset state and is
       depressed to release the hammer from its sear surface (Pls.’ App’x 67; Pls.’ App’x 529-
       532, Prelim. Inj. Hr’g. Tr. 21:16-22:17, 109:11-18, 111:7-16);

   •   The trigger in a firearm equipped with a forced reset trigger must reset after every round
       that is fired (Pls.’ App’x 67-68; Pls’ App’x 532-533, Prelim. Inj. Hr’g. Tr. 111:17-112:24);
       and

   •   If the shooter attempts to overcome the reset and holds the trigger in a fully depressed
       position so that the trigger cannot reset, the weapon will malfunction (Pls.’ App’x 533,
       Prelim. Inj. Hr’g. Tr. 113:10-21).




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        This motion otherwise satisfies LR 56.3(a), including complying with LR 56.5(c). See LR

   56.3(b).

                                      INTRODUCTION

        James Madison warned that “[t]he accumulation of all powers, legislative, executive and

judiciary, in the same hands . . . may justly be pronounced the very definition of tyranny.” THE

FEDERALIST No. 47, at 301 (James Madison) (Clinton Rossiter ed. 1961). The crux of this case is

that the executive branch has improperly usurped legislative authority by enacting criminal

prohibitions that are beyond the scope of its legislatively granted authority. The Court possesses

both constitutional and statutory authority to review pre-enforcement challenges to this agency’s

actions that carry criminal consequences.

        Because there is no genuine dispute of material fact and statutory interpretation is the

province of the courts, Plaintiffs move for summary judgment dispositive of all issues and

awarding appropriate relief.

   I.      BACKGROUND

        The United States Congress delegated authority to the Bureau of Alcohol, Tobacco,

Firearms and Explosives (“ATF”) to regulate firearms in interstate commerce through an

amendment in 1986 to Gun Control Act of 1968. In a 2018 regulation, the ATF expanded the

statutory definition of “machinegun” with the intention of encompassing “bump stocks.” A few

years later, the ATF asserted that additional types of devices qualify as machineguns and are thus

illegal to possess or transfer. One of those prohibited devices is a forced reset trigger (“FRT”).

Alleging agency overreach because of incongruence between the statutory definition and the ATF’s

interpretation, Plaintiffs brought this suit under the Administrative Procedure Act (“APA”), 5




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U.S.C. §§ 701 et seq., to challenge the legality of the ATF’s extra-statutory definition and its

application thereof, and to seek declaratory and injunctive relief.

           a.      Forced Reset Triggers

       The Court determined that an FRT is an assembly that allows the trigger of a semi-

automatic weapon to reset quicker than it otherwise would using the standard trigger-return spring.

Pls.’ App’x 67, Opinion and Order Graning Preliminary Injunction (“Opinion and Order”) at 2.

An FRT forcibly returns the trigger to its reset state. Id. Due to the swifter trigger reset, a firearm

equipped with an FRT enables the user to fire at a faster rate than with a traditional trigger. Id. In

the commercialized FRT designs at issue in this litigation, the trigger is forcibly reset by the

hammer when the bolt carrier cycles to the rear. Id. A “locking bar” mechanically locks the trigger

in its reset state, preventing the user from moving the trigger rearward to function by releasing the

hammer, until the bolt has returned to the in-battery position and the firearm is safe to fire. Id.

When firing multiple rounds using an FRT, the trigger must still reset after each round is fired and

must separately function to release the hammer by moving far enough to the rear to fire the next

round. Id. at 67-68.

           b.      Statutory Background

       The National Firearms Act of 1934 (“NFA”) regulates certain firearms in interstate

commerce. 26 U.S.C. §§ 5801 et seq. At the time of its proposal, the NFA “was known to many

as the ‘the Anti-Machine Gun Bill.’” Cargill v. Garland, 57 F.4th 447, 450 (5th Cir. 2023) (en

banc), pet. for cert. filed, No. 22-976 (2023). Among other things, the NFA criminalized the

possession or transfer of certain unregistered firearms while also prohibiting the registration of

firearms otherwise banned by law. 26 U.S.C. §§ 5812(a), 5861. In the decades following its

enactment, Congress passed the Gun Control Act of 1968 (the “GCA”), which criminalized the




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possession of firearms for certain classes of people. 18 U.S.C. § 921 et. seq. The GCA was

amended in 1986 by the Hughes Amendment to the 1986 Firearm Owners Protection Act—

colloquially referred to as “the machinegun ban”—to prohibit the possession or transfer of

machineguns. 18 U.S.C. § 922(o). With limited exceptions, it is a federal felony today to possess

or transfer a machinegun. Id. This offense is punishable by up to ten years in federal prison for

first-time offenders. 18 U.S.C. § 924(a)(2).

       According to both the NFA and GCA, a “machinegun” is statutorily defined as:

       [a]ny weapon which shoots, is designed to shoot, or can be readily restored to shoot,
       automatically more than one shot, without manual reloading, by a single function
       of the trigger. The term shall also include the frame or receiver of any such weapon,
       any part designed and intended solely and exclusively, or combination of parts
       designed and intended, for use in converting a weapon into a machine gun, and any
       combination of parts from which a machine gun can be assembled if such parts are
       in the possession or under the control of a person.

26 U.S.C. § 5845(b) (providing the original statutory definition of “machinegun”); 18 U.S.C. §

921(a)(24) (incorporating the NFA’s definition of “machinegun” into the GCA). In other words, a

machinegun is a weapon “capable of automatic fire” due to “firing more than one round per trigger-

action.” Cargill, 57 F.4th at 452. Firearms incapable of automatic fire per trigger-action are thus

not machineguns. Id.

           c.      Regulatory Background

        For decades, the ATF’s regulations mirrored the federal statutory definition of

“machinegun.” Compare 27 C.F.R. §§ 478.11, 479.11 (2017), with 26 U.S.C. § 5845(b). This

statutory consistency was disrupted in 2018 when the ATF broadened the meaning of

machinegun in its most recent regulation by re-interpreting the statutory definition to add

additional language (shown in italics):

        Any weapon which shoots, is designed to shoot, or can be readily restored to
        shoot, automatically more than one shot, without manual reloading, by a single
        function of the trigger. The term shall also include the frame or receiver of any


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           such weapon, any part designed and intended solely and exclusively, or
           combination of parts designed and intended, for use in converting a weapon into
           a machine gun, and any combination of parts from which a machine gun can be
           assembled if such parts are in the possession or under the control of a person. For
           purposes of this definition, the term “automatically” as it modifies “shoots, is
           designed to shoot, or can be readily restored to shoot,” means functioning as the
           result of a self-acting or self-regulating mechanism that allows the firing of
           multiple rounds through a single function of the trigger; and “single function of
           the trigger” means a single pull of the trigger and analogous motions. The term
           “machine gun” includes a bump-stock-type device, i.e., a device that allows a
           semi-automatic firearm to shoot more than one shot with a single pull of the
           trigger by harnessing the recoil energy of the semi-automatic firearm to which it
           is affixed so that the trigger resets and continues firing without additional
           physical manipulation of the trigger by the shooter.

27 C.F.R § 479.11 (2018) (emphasis added). 1

          Three years after the ATF broadened its interpretation of the statutory definition, agency

    subdivisions issued reports applying the revised definition of “machinegun” to FRTs. For

    example, the Firearms Technology Criminal Branch (“FTCB”) issued a Technical Examination

    Report on July 15, 2021, which purportedly classified the FRT-15—an FRT model—as a

    machinegun. Pls.’ App’x 112-177 (ATF FTCB Report re: FRT-15, July 15, 2021) (“ATF’s FRT

    Report, July 15, 2021”). The FTCB issued a similar report several months later on October 21,

    2021, regarding the Wide Open Enterprises (“WOT”) iteration of an FRT. Pls.’ App’x 179-193

    (ATF FTCB Report re: “WOT,” October 21, 2021) (“ATF’s WOT Report, October 21, 2021”).

    Both the WOT and the FRT-15 operate on the same mechanical principles. Pls.’ App’x 70,

    Opinion and Order at 5. At the beginning of the next year, the FTCB issued its “Open Letter to

    All Federal Firearms Licensees” on March 22, 2022. Pls.’ App’x 195-196 (ATF Open Letter to

    All Federal Firearms Licensees, March 22, 2022) (the “Open Letter”). The Open Letter advised

    that the ATF “recently examined devices commonly known as ‘forced reset triggers’ (FRTs)” and



1
 ATF’s rule change is embodied identically in 27 C.F.R §§ 447.11, 478.11, and 479.11. Section 479.11 is used herein
exemplarily and reference to this section should be understood to be inclusive of all.


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“determined that some of them are ‘firearms’ and ‘machineguns’ as defined in the [GCA].” Id. at

195. The Open Letter further stated that “ATF’s examination found that some FRT devices allow

a firearm to automatically expel more than one shot with a single, continuous pull of the trigger”

and that “any FRT that allows a firearm to automatically expel more than one shot with a single,

continuous pull of the trigger is a ‘machinegun.’” Id.

      On April 27, 2023, the FTCB issued yet another report on the FRT-15 trigger. Pls.’ App’x

197-253 (ATF FTCB Report re: FRT-15 (April 27, 2023) (“ATF’s FRT Report, April 27, 2023”).

Although each of these reports facially purported to rely on C.F.R. § 479.11, the ATF’s expert

witness at the October 2, 2023, preliminary injunction hearing—who authored the ATF’s FRT

Report from April 27, 2023—stated that, if he could, he would change that report now to disavow

its reliance on C.F.R. § 479.11 and to instead rely exclusively on the statutory language. Pls.’

App’x 274-275, Prelim. Inj. Hr’g. Tr. 105:24-106:4. However, departing again from the statute,

the most recent definition asserted by ATF—as proffered by its expert at this Court’s preliminary

injunction hearing—is that “single function of the trigger” means “initiation of the firing

sequence” plus “constant rearward pressure.” Pls.’ App’x 278, Prelim. Inj. Hr’g. Tr. 130:10-17.

      The ATF’s application of its expanded definition is not merely limited to agency reports.

In fact, the ATF and other government actors are actively pursuing civil and criminal enforcement

actions against manufacturers, sellers, and owners of FRTs. Specifically, the Department of

Justice (“DOJ”) has brought several criminal prosecutions against individuals for possessing

FRTs—including at least one individual located in the State of Texas. United States v.

Bruggeman, 2:22-cr-185 (S.D. Tex.). The DOJ has also initiated civil proceedings against at least

one company and two individuals stemming from the manufacture and sale of FRTs. United States

v. Rare Breed Triggers, LLC, et al., No. 23-cv-369 (E.D.N.Y.).




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             More proceedings seem inevitable.        The ATF was sending cease-and-desist letters

    regarding possession of FRTs (at least as recently as October 3, 2023)2 and continuing to seize

    FRTs (at least as recently as September 27, 2023)3 before this Court issued a Preliminary

    Injunction on October 7, 2023.

             This activity did not stop after the issuance of the Preliminary Injunction. Defendants

    appear to have treated the preliminary injunction as at best an affirmative defense to be asserted

    by individuals ensnared in Defendants’ aggressive enforcement activities. Defendants have

    continued to contact individuals they suspect of owning FRTs and demanding those individuals

    surrender their FRTs or risk criminal prosecution. See, e.g., Pls.’ App’x 285 (Declaration of Pete

    Moreno); 286-289 (Declaration of Nick Barry); 290-293 (Declaration of Mackenzie Mitchell ¶ 5,

    Ex. A). Notwithstanding Defendant’s purported “Notice of Compliance,” See Pls.’ App’x 254-

    264, Defendants are known to have contacted at least ten members of Plaintiff National

    Association for Gun Rights, in violation of the preliminary injunction. See Pls.’ App’x 294

    (Declaration of Ryan Flugaur ¶ 3).

       II.      THRESHOLD ISSUES

                a.     Statutory Interpretation

             As Chief Justice John Marshall stated in Marbury v. Madison: “It is emphatically the

province and duty of the judicial department to say what the law is.” Marbury v. Madison, 5 U.S.

137, 177 (1803) (1 Cranch). When reviewing an agency action under the APA, “the reviewing

court shall decide all relevant questions of law, interpret constitutional and statutory provisions,

and determine the meaning or applicability of the terms of an agency action.” 5 U.S.C. § 706. The



2
 Pls.’ App’x 301-303 (Declaration of Lee Boerschig (with attached ATF letter)).
3
 Pls.’ App’x 397, 399, 326-327, 330, 391, 393 (ATF Official Notification posted on November 1, 2023 (stating ATF
seized FRTs/WOTs on August 31, 2021, September 19, 26, 27, 2023, October 3, 4, 11, 13, 16, 19, 20, 24 2023)).


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APA instructs courts to “hold unlawful and set aside agency action . . . found to be . . . in excess

of statutory jurisdiction, authority, or limitations.” Id. at § 706(2)(C).

            b.       Individual and Associational Standing

        Individual and Associational Plaintiffs, including their members, have been determined to

have standing to bring this action and to have relief granted. See Pls.’ App’x 75-80, Opinion &

Order at 10-15. Nothing has changed since the Court made that determination.

                     i.       The Individual Plaintiffs Have Standing

        The Individual Plaintiffs continue to face a credible threat of prosecution. As the Court

previously noted, “There is no dispute that the Individual Plaintiffs ‘inten[d] to engage in a course

of conduct arguably affected with a constitutional interest, but proscribed by statute.’” Pls.’ App’x

77, Opinion & Order at 12 (quoting Zimmerman v. City of Austin, 881 F.3d 378, 391 (5th Cir.

2005)). Each individual plaintiff either currently possesses or previously possessed an FRT and

each would like to purchase additional FRTs in the future. See Pls.’ App’x 05-06 (Declaration of

Patrick Carey); 1-2 (Declaration of J.R. Wheeler); 03-04 (Declaration of Travis Speegle).

        Defendants’ aggressive enforcement posture confirms that their erroneous interpretation of

the law is not moribund. See generally Speech First, Inc. v. Fenves, 979 F.3d 319, 336-37 (5th Cir.

2020) (“Where the policy remains non-moribund, the claim is that the policy causes self-

censorship among those who are subject to it, and the students’ speech is arguably regulated by

the policy, there is standing.”). For example, they previously specifically threatened enforcement

actions against Plaintiff Patrick Carey. Pls.’ App’x 06 (Declaration of Patrick Carey). They have

brought and are continuing to pursue criminal charges against several individuals for possessing

an FRT, including in Texas.4 And they have continued to visit and send letters to suspected FRT


4
 See Pls.’ App’x 467, Second Superseding Indictment at Count One, U.S. v. Bruggeman, 2:22-CR-185 (S.D. Tex.
Nov. 9, 2022) (charging defendant with “knowingly posess[ing] a machinegun, that is, six (6) Rare Breed Triggers


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owners, including contacting at least ten members of the National Association for Gun Rights since

the preliminary injunction was issued. Pls.’ App’x 294 (Declaration of Ryan Flugaur ¶ 3).

Defendants have not been chastened by the issuance of this Court’s preliminary injunction; instead,

they have supercharged their enforcement efforts. The Individual Plaintiffs have standing.

                     ii.      The Associational Plaintiffs Have Standing

        To establish associational standing, the Associational Plaintiffs must show “(a) its

members would otherwise have standing to sue in their own right; (b) the interests it seeks to

protect are germane to the organization’s purpose; and (c) neither the claim asserted nor the relief

requested requires the participation of individual members in the lawsuit.” Opinion & Order at 14

(quoting Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 143 S. Ct.

2141, 2157 (2023))

        The Individual Plaintiffs are all members of both the National Association for Gun Rights

and Texas Gun Rights. See Pls.’ App’x 473, Supplemental Declaration of Patrick Carey; Pls.’

App’x 472, Supplemental Declaration of Travis Speegle; Pls.’ App’x 474, Supplemental

Declaration of J.R. Wheeler; Pls.’ App’x 475, Declaration of Ryan Flugaur. In addition, at least

ten members of the National Association for Gun Rights have been contacted by Defendants even

after (and in apparent violation of) the preliminary injunction. Pls.’ App’x 294 (Declaration of

Ryan Flugaur ¶ 3). The Associational Plaintiffs’ members would (and do) have standing to sue in

their own right.




FRT-15”); Pls.’ App’x 479-480, Superseding Indictment at Count Two, U.S. v. Berrios-Aquino, 3:22-cr-473 (D.P.R.
Apr. 20, 2023) (charging defendant with possession of a machinegun for possessing a Rare Breed FRT-15 trigger);
Pls.’ App’x 482-483, Superseding Indictment at Count One, U.S. v. Augusto, 3:22-cr-30025 (D. Mass. Sept. 1, 2022)
(charging defendant with possession of a machinegun in part for possessing three Rare Breed FRT15 forced reset
triggers and one Tommy Triggers FRT-15-3 MD forced reset trigger).


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       The National Association for Gun Rights was formed to “to preserve and defend the

Second Amendment rights of gun owners.” Compl. ¶ 4 (ECF No. 1). The mission of Texas Gun

Rights is “to protect the Second Amendment rights of its members, including protecting the liberty

of individuals to defend themselves, their families, and their property without having to first ask

government for permission, and to push back on firearms-related licensing requirements.” Compl.

¶ 5 (ECF No. 1). As the Court previously noted, these organizational purposes “are clearly

germane to this lawsuit challenging Defendants’ asserted authority to classify and regulate FRTs

as machineguns.” Opinion & Order at 15.

       Finally, as the Court previously noted, “because NAGR and TGR seek injunctive relief,

there is no need for all of their individual members to participate in the lawsuit.” Pls.’ App’x 80,

Opinion & Order at 15. The Associational Plaintiffs have standing.

           c.      Pre-Enforcement Challenges

       Plaintiffs facing “a credible threat of prosecution . . . should not be required to await and

undergo a criminal prosecution as the sole means of seeking relief.” Babbit v. Farm Workers, 442

U.S. 289, 298 (1979) (internal quotation marks omitted); see also MedImmune, Inc. v. Genentech,

Inc., 549 U.S. 118, 128-29 (2007) (“[W]here threatened action by the government is concerned,

we do not require a plaintiff to expose himself to liability before bringing a suit to challenge the

basis of the threat.”); Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (“When an

individual is subject to such a threat [of enforcement of a law], an actual arrest, prosecution, or

other enforcement action is not a prerequisite to challenging the law.”); Nat’l Rifle Ass’n of Am. v.

Magaw, 132 F.3d 272, 279 (6th Cir. 1997) (“Although in regard to criminal statutes, courts are

wary of . . . intervening prior to prosecution and foreshortening the prosecutor’s action, courts have

allowed pre-enforcement review of a statute with criminal penalties.”).




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       “[T]he Administrative Procedure Act’s ‘generous review provisions’ must be given a

‘hospitable’ interpretation.” Abbott Laboratories v. Gardner, 387 U.S. 136, 140 (1967) (quoting

Shaughnessy v. Pedreiro, 349 U.S. 48, 51 (1955)). As this Court previously recognized, the APA

authorizes courts to review agency actions on a pre-enforcement basis, including various agency

actions that are “otherwise not in accordance with law” and “contrary to constitutional right,

power, privilege, or immunity; ... [or] in excess of statutory jurisdiction, authority, or limitations,”

a power of judicial review that is “cumulative under the arbitrary and capricious standard.” Pls.’

App’x 83-84, Opinion and Order at 17-18 (quoting 5 U.S.C. § 706(2)(A)-(B); Menkes v. DHS, 637

F.3d 319, 330 (D.C. Cir. 2011)).

       Further, the Court acknowledged that “‘[i]n all cases’ of judicial review under § 706,

‘agency action must be set aside if the action was ‘arbitrary, capricious, an abuse of discretion,

or otherwise not in accordance with law’ or if the action failed to meet statutory, procedural,

or constitutional requirements.’” Id. (quoting Citizens to Preserve Overton Park, Inc. v. Volpe,

401 U.S. 402, 413-414 (1971)).

       The APA’s text refers to “mandatory or injunctive decree[s]” issued thereunder. 5 U.S.C.

§ 702. The import of this text is that injunctive relief is available under the APA without any

express limitation precluding the availability of such relief on a pre-enforcement basis.

       Moreover, the text of § 702 makes clear that “[a] person suffering a legal wrong because

of agency action, or adversely affected or aggrieved by agency action” is “entitled to judicial

review thereof.” Id. And the APA expressly provides that criminal proceedings are included in

such review. Id. This ability to obtain an appropriate remedy is not contingent on the person being

subject to existing enforcement. To the contrary, the APA recognizes judicial authority to “issue

all necessary and appropriate process . . . to preserve status or rights” from “irreparable injury”




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caused by agency action. 5 U.S.C. § 705 Indeed, the APA’s explicit textual entitlement would be

undermined by an interpretation that § 702 confers no right to obtain meaningful equitable relief

on a pre-enforcement basis when wronged by agency action.

          Based on its text, the APA empowers courts with specific authority to “hold unlawful and

set aside agency action, findings, and conclusions found to be” unlawful without subjecting that

authority only to post-enforcement situations. 5 U.S.C. § 706. This is the only reading of the text

that gives “a ‘hospitable’ interpretation” to the APA’s “generous review provisions.” Abbott

Lab’ys, 387 U.S. at 140 (quoting Shaughnessy, 349 U.S. at 51). It also tracks with the important

purpose the APA serves. See Franciscan All., Inc. v. Becerra, 47 F.4th 378, 372 (5th Cir. 2022)

(“[A]n agency ‘literally has no power to act . . . unless and until Congress authorizes it to do so by

statute.’” (quoting Fed. Election Comm’n v. Cruz, 142 S. Ct. 1638, 1649 (2022)). This authority

to “issue all necessary and appropriate process . . . to preserve status or rights” from “irreparable

injury” caused by agency action is not limited to relief for only the Plaintiffs. See Texas v. United

States, 809 F.3d 134, 187-88 (5th Cir. 2015), as revised (Nov. 25, 2015). The relief granted for the

facial attack on ATF’s actions must inure to the benefit of all similarly situated non-party persons

in the United States.

   III.      LEGAL STANDARD

          Summary judgment is proper when the pleadings and evidence show “there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). “[T]he substantive law will identify which facts are material.” Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986). A genuine issue of material fact exists “if the evidence is

such that a reasonable jury could return a verdict for the nonmoving party.” Id. The movant makes

a showing that there is no genuine issue of material fact by informing the court of the basis of its




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motion and by identifying the portions of the record that reveal there are no genuine material-fact

issues. See Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

       When reviewing the evidence on a motion for summary judgment, the court must resolve

all reasonable doubts and inferences in the light most favorable to the non-movant. See Walker v.

Sears, Roebuck & Co., 853 F.2d 355, 358 (5th Cir. 1988). The court cannot make a credibility

determination in light of conflicting evidence or competing inferences. Anderson, 477 U.S. at 255.

And if there appears to be some support for the disputed allegations, such that “reasonable minds

could differ as to the import of the evidence,” the court must deny the motion for summary

judgment. Id. at 250.

       Plaintiffs in this case seek a permanent injunction. As with summary judgment, “[a] ‘court

may grant a permanent injunction without a trial on the merits if there are no material issues of

fact and the issues of law have been correctly resolved.’” Franciscan Alliance, Inc. v. Becerra,

553 F. Supp. 3d 361, 368 (N.D. Tex. 2021) (quoting Calmes v. United States, 926 F. Supp. 582,

591 (N.D. Tex. 1996)). “The standard for a permanent injunction is essentially the same as for a

preliminary injunction with the exception that the plaintiff must show actual success on the

merits.” Id. at 375 (quoting Dresser-Rand Co. v. Virtual Automation, Inc., 361 F.3d 831, 847-48

(5th Cir. 2004)). “Thus, a permanent injunction is proper if the plaintiff shows: ‘(1) that it has

succeeded on the merits; (2) that a failure to grant the injunction will result in irreparable injury;

(3) that said injury outweighs any damage that the injunction will cause the opposing party; and

(4) that the injunction will not disserve the public interest.’” Id. (quoting Valentine v. Collier, 993

F.3d 270, 280 (5th Cir. 2021)). Here, the parties agree that this case is appropriate for summary

judgement. See Unopposed Motion to Stay Deadline to Respond to Complaint (ECF No. 58) at 1.




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         Finally, under the APA, courts must “hold unlawful and set aside agency action . . . found

to be . . . in excess of statutory jurisdiction, authority, or limitations.” 5 U.S.C. § 706(2)(C). “‘In

all cases’ of judicial review under Section 706, ‘agency action must be set aside if the action was

arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law or if the action

failed to meet statutory, procedural, or constitutional requirements.’” Pls.’ App’x 85-86, Opinion

and Order at 21-22 (quoting Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 413–

414 (1971) (internal quotation marks omitted).

   IV.      ARGUMENT

            a.      There is No Genuine Dispute of Material Facts

         The following undisputed material facts support Plaintiffs’ Motion for Summary

Judgment:

   •     The Bureau of Alcohol, Tobacco, Firearms, and Explosives has made a final determination
         to classify forced reset triggers as “machineguns” (e.g., Pls.’ App’x 112-177; Pls.’ App’x
         179-193; Pls.’ App’x 197-253; Pls.’ App’x 195-196; Pls.’ App’x 498-499 ¶ 42; Pls. App’x
         274-275, Prelim. Inj. Hr’g. Tr. 105:24-106:4);

   •     For each and every round fired, the trigger moves forward into its reset state and is
         depressed to release the hammer from its sear surface (Pls.’ App’x 67; Pls.’ App’x 529-
         532, Prelim. Inj. Hr’g. Tr. 21:16-22:17, 109:11-18, 111:7-16);

   •     The trigger in a firearm equipped with a forced reset trigger must reset after every round
         that is fired (Pls.’ App’x 67-68; Pls’ App’x 532-533, Prelim. Inj. Hr’g. Tr. 111:17-112:24);
         and

   •     If the shooter attempts to overcome the reset and holds the trigger in a fully depressed
         position so that the trigger cannot reset, the weapon will malfunction (Pls.’ App’x 533,
         Prelim. Inj. Hr’g. Tr. 113:10-21).

         On October 2, 2023, the Court held an evidentiary hearing where each party was permitted

an expert witness to testify about the mechanics of FRTs. The Court concluded that, having been

made clear by the testimony, there are no factual disputes regarding how FRTs work and confirmed

that the parties’ dispute centers entirely on whether FRTs qualify as machineguns under the



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statutory definition. Pls.’ App’x 74, Opinion and Order at 9. All Parties agreed. See Pls.’ App’x

279, 283, Prelim. Inj. Hr’g. Tr.133:17-22, 141:17-20. Thus, there is no genuine issue of material

fact. FRTs function as described above. See supra 3.

             b.       The ATF’s Classification of FRTs as “Machineguns” is a Final Agency
                      Action

        There is no—and cannot be any—material dispute that the ATF has classified FRTs as

“machineguns” and that this classification is a final agency action that represents the culmination

of the agency’s decision-making on this matter. It has issued multiple reports asserting this

position,5 reiterated it in letters threatening prosecution against individuals,6 used this theory to

bring multiple criminal prosecutions, 7 used it as the basis of a civil fraud action,8 and reiterated it

in this litigation.

             c.       The Undisputed Facts Show that Plaintiffs are Entitled to Judgment as a
                      Matter of Law—FRTs are Not “Machineguns”

        Controlling Fifth Circuit precedent is squarely dispositive of the sole issue in this case.

Cargill v. Garland emphatically rejected the ATF’s interpretation set forth in § 479.11 and

unambiguously defined what “single function of the trigger” means. 57 F.4th at 460, 473. The

ATF's regulation and subsequent re-interpretation broadening the machinegun definition has



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  See Pls.’ App’x 112-177, ATF’s FRT Report, July 15, 2021; Pls.’ App’x 179-193, ATF’s WOT Report, October 21,
2021; Pls.’ App’x 197-253, ATF’s FRT Report, April 27, 2023; Pls.’ App’x 195-196 (ATF Open Letter to All Federal
Firearms Licensees, March 22, 2022).
6
  Pls.’ App’x 05-06 (Declaration of Patrick Carey (with attached letter)); Pls.’ App’x 286-289 (Declaration of Nick
Barry (with attached letter)); Pls.’ App’x 290-293 (Declaration of Mackenzie Mitchell (with attached letter)); Pls.’
App’x 536-540 (with transcript of call)).
7
  See Pls.’ App’x 467, Second Superseding Indictment at Count One, U.S. v. Bruggeman, 2:22-CR-185 (S.D. Tex.
Nov. 9, 2022) (charging defendant with “knowingly posess[ing] a machinegun, that is, six (6) Rare Breed Triggers
FRT-15”); Pls.’ App’x 479-480, Indictment at Count Two, U.S. v. Berrios-Aquino, 3:22-cr-473 (D.P.R. Apr. 20, 2023)
(charging defendant with possession of a machinegun for possessing a Rare Breed FRT-15 trigger); Pls.’ App’x 482-
483, Superseding Indictment at Count One, U.S. v. Augusto, 3:22-cr-30025 (D. Mass. Sept. 1, 2022) (charging
defendant with possession of a machinegun in part for possessing three Rare Breed FRT15 forced reset triggers and
one Tommy Triggers FRT-15-3 MD forced reset trigger).
8
  See Pls.’ App’x 490-527, United States v. Rare Breed Triggers, LLC, et al., No. 23-cv-369 (E.D.N.Y.) (civil lawsuit
against the “Rare Breed Parties”) (hereinafter “E.D.N.Y. Lawsuit”).


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already been determined to be an arbitrary and capricious expansion of the agency's authority by

the en banc Fifth Circuit. Id. at 472-73. The same definition must apply to forced reset triggers

and mandates the same conclusion: that a forced reset trigger is not a machinegun.

        ATF has not limited itself to the broadened definition set forth in its published regulations

(§ 479.11, et al.), which defined “function of the trigger” as a “single pull of the trigger and

analogous motions.” It has used an ever-changing series of definitions, including “constant

rearward pressure,”9 “continuous pull,”10 “constant rearward pull” or “single function of the trigger

means single pull of the trigger,”11 and most recently “initiation of the firing sequence” plus

“constant rearward pressure.”12 But all of these contortions are foreclosed by the proper,

controlling definition of “single function of the trigger” set forth in Cargill.

        All of Defendants shifting interpretations improperly focus on the action imposed on the

trigger rather than the function of the trigger itself. Any interpretation that seeks to transform the

required statutory focus away from the objective trigger mechanics to the subjective actions of the

gun user instead is incorrect and is the same rewriting of the statute Defendants already attempted

with bump stocks, which the Fifth Circuit rejected in Cargill. Cargill, 57 F.4th at 460. (“The statute

does not care what human input is required to activate the trigger—it cares only whether more than

one shot is fired each time the trigger acts.”). Under Cargill, the Court cannot look to the shooter’s

actions in deciding whether FRTs are machineguns. Id. Indeed, the “notion that the definition turns

on the actions of an unnamed shooter is inconsistent with both the [definition’s] grammatical and

statutory contexts.” Id. at 461.


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   Pls.’ App’x 112-177, ATF’s FRT Report, July 15, 2021; Pls.’ App’x 179-193, ATF’s WOT Report, October 21,
2021.
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   Pls.’ App’x 112-177, ATF’s FRT Report, July 15, 2021.
11
    Pls.’ App’x 197-253, ATF’s FRT Report, April 27, 2023, at 5; Pls.’ App’x 299, Prelim. Inj. Hr’g. Tr. 162:1-4,
United States v. Rare Breed Triggers, LLC, et al., No. 23-cv-369 (NRM) (RML), 2023 WL 5689770 (E.D.N.Y. Aug.
1, 2023).
12
   Pls.’ App’x 278, Prelim. Inj. Hr’g. Tr. 130:10-17.


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        In light of Cargill, the critical—and sole—consideration is how the trigger mechanically

functions. And that function is the “follow-on action where the trigger acts out its mechanical

design or purposes” after the shooter has initiated it by some action. Id. at 460. Cargill leaves no

doubt that this required “action” is in relation to the function of the trigger itself, which is defined

purely mechanically under the statute rather than an action taken by the user. Id. at 461 (“Congress

did not use words describing the shooter’s perspective of the weapon’s rate of fire . . .. Instead, it

made up an entirely new phrase—by single function of the trigger—that specifically pertains to

the mechanics of a firearm.”). In a hammer-fired gun like those an FRT enhances, the trigger’s

function is still to release the hammer as part of a “simple mechanical process.” See id. at 459

(explaining that “the trigger disengages the hammer from the sear” starts the “process" that

“happens every single time one bullet is fired”). This definition is consistent with prior Fifth Circuit

precedent. See, e.g., United States v. Jokel, 969 F.2d 132, 134 (5th Cir. 1992) (concluding that the

role of the trigger is “the part of the action of a firearm moved by the finger to release the hammer

. . . in firing”) (emphasis added)).

        As the Fifth Circuit’s statutory interpretation makes clear, a “single function of the trigger”

means what it says: a single function of the trigger. It does not mean a single pull by the shooter.

Cargill, 57 F.4th at 459. In fact, the word “pull” is not found anywhere in the statutory definition.

The parties agree that the trigger in an FRT-equipped firearm releases the hammer for every shot.

Pls.’ App’x 279, Prelim. Inj. Hr’g. Tr.133:17-22, 141:17-20. Moreover, both parties confirmed at

the October 2, 2023, hearing that there is no disagreement as to how FRTs function. Id. The ATF’s

witness concedes the trigger has to be moved (i.e., “function”) each time a round is fired and the

only force that moves that trigger rearward comes from the user’s finger. Pls.’ App’x 276, Prelim.




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Inj. Hr’g. Tr. 111:10-12. For every shot fired by an FRT-15, the trigger must move rearward to

release the hammer. Id., Prelim. Inj. Hr’g. Tr. 111:13-16.

       By contrast, the auto sear in a fully automatic gun takes over to retain and release the

hammer for all subsequent shots so that its trigger functions only once in a string of automatic fire.

See Pls.’ App’x 276-277, Prelim. Inj. Hr’g. Tr. 111:17-112:2; Cargill, 57 F.4th at 454 (contrasting

the auto sear of a “fully automatic gun” with a bump stock). Although an FRT-equipped firearm

contains a locking bar that prevents a subsequent trigger function until the weapon is safe to fire

again, this is not the same as an auto sear. Pls.’ App’x 93, Opinion and Order at 28. Unlike an auto

sear, the locking bar prevents firing until it is safe to do so again after unlocking the trigger. Id.

Also unlike a fully automatic weapon’s auto sear, the FRT’s locking bar does not alter the basic

mechanical process where the trigger must move to cause every shot fired. Pls.’ App’x 276, Prelim.

Inj. Hr’g. Tr. 111:1-16. Whether that movement occurs by the shooter “apply[ing] forward

pressure to the weapon’s forebody in order to maintain the shooting mechanism” for bump stocks,

Cargill, 57 F.4th at 454, or by the shooter maintaining rearward pressure as the hammer forces the

trigger forward for FRTs, the fact remains that the trigger resets to retain the hammer and release

the hammer between each shot fired. Cargill explains that each of these retentions and releases

caused by the trigger’s movement is a separate function of the trigger. Id. at 459. Like bump stocks,

FRTs do not enable a weapon to automatically fire multiple rounds with a single function of the

trigger itself. Pls.’ App’x 93, Opinion and Order at 28.

       Furthermore, unlike a switch-activated device that takes over as the legal trigger of the

weapon, FRTs do not alter the basic operation of the trigger: the trigger must still move sufficiently

rearward for each shot based on external manual input from the shooter. Pls.’ App’x 94-95,

Opinion and Order at 29-30. This, in turn, activates the trigger’s function—releasing the




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hammer—which must occur for each shot and is not set in motion automatically by a single action

of a switch. Id. Unlike a mechanical bump stock, such as the Akins Accelerator, and electronic

motor devices, triggers in FRT-equipped firearms perform the same mechanical function as any

normal trigger by releasing the hammer for each shot. Pls.’ App’x 95, Opinion and Order at 30.

       Defendants attempted to analogize FRTs to machineguns by pointing to two similarities

that FRTs and machineguns share: (1) the comparable rates of fire and (2) the absence of a

disconnector. Id. But these arguments are foreclosed by the statutory definition and Cargill. Id.

The statutory definition does not define machineguns “according to how quickly they fire.” Id.;

Pls. App’x 300, Prelim. Inj. Hr’g. Tr. 102:11-18; Cargill, 57 F.4th at 464. Nor does it identify the

absence of a disconnector as the dispositive characteristic. Pls.’ App’x 95, Opinion and Order at

30; Cargill, 57 F.4th at 460 (declining to “read words into the statute”).

       Cargill also discussed the relevance (or lack thereof) of deference under Chevron USA,

Inc. v. Nat. Res. Def. Council. Pls.’ App’x 87, Opinion and Order at 22 n.56; Cargill, 57 F.4th at

456-57 (citing Chevron USA, Inc. v. Nat. Res. Def. Council, 267 U.S. 837 (1984)). The ATF does

not receive interpretive deference under Chevron. Pls.’ App’x 87, Opinion and Order at 22 n.56;

Cargill, 57 F. 4th at 456-57. This is primarily due to the Step Zero command that interpretive

rules—which the ATF's broadened machinegun definition appears to be—are not eligible for

Chevron deference. Pls.’ App’x 87, Opinion and Order at 22 n.56 (citing United States v. Mead

Corp., 533 U.S. 218, 232 (2001)). But even assuming otherwise, Chevron deference would still

not apply for at least two reasons. First, the statutory definition is unambiguous. Id. (citing Western

Refining Southwest, Inc. v. FERC, 636 F.3d 719, 727 (5th Cir. 2011)) (“[If] the statute’s text is

unambiguous, we need not proceed to Step Two of Chevron.”). Second, “[t]he Supreme Court has




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never held that the Government’s reading of a criminal statute is entitled to any deference.” Id.

(quoting Cargill, 57 F.4th at 466-67) (cleaned up).

       Plaintiffs have succeeded on the merits. Under the binding interpretation of Cargill, FRTs

are not “machineguns.” Defendants’ contrary classification and enforcement actions based on it

are unlawful.

           d.     A Failure to Grant a Permanent Injunction Will Result in Irreparable
                  Injury

       “[C]omplying with [an agency order] later held invalid almost always produces the

irreparable harm of nonrecoverable compliance costs.” Wages and White Lion Investments, L.L.C.

v. United States, 16 F.4th 1130, 1142 (5th Cir. 2021) (emphasis added) (quoting Texas v. EPA,

829 F.3d 405, 433 (5th Cir. 2016)); see also VanDerStok, et al. v. Garland, et al., 625 F. Supp.3d

570, 584 (N.D. Tex. 2022) (quoting Texas). Accordingly, “Federal courts have long recognized

that, ‘when the threatened harm is more than de minimis, it is not so much the magnitude but the

irreparability that counts for purposes of a preliminary injunction.’” Enter. Int’l, Inc. v.

Corporacion Estatal Petrolera Ecuatoriana, 762 F.2d 464, 472 (5th Cir. 1985) (quoting Canal

Auth. V. Callaway, 489 F.2d 567, 575 (5th Cir. 1974)); see also VanDerStok, 625 F.Supp.3d at

584 (quoting Enter. Int’l.). And “compliance costs are ‘likely unrecoverable,’ usually ‘because

federal agencies generally enjoy sovereign immunity for any monetary damages.’” VanDerStok,

625 F. Supp. 3d at 584 (quoting Wages and White Lion Investments, 16 F.4th at 1142).

       First, Plaintiffs are irreparably harmed by the credible threat of prosecution. As described

above—and as found previously by this Court—Plaintiffs face a credible threat of prosecution.

See supra 8-9; Pls.’ App’x 97-99, Opinion and Order at 32-34. This threat has not abated since

the Court issued its preliminary injunction.      To the contrary, Defendants have continued

aggressively threatening citizens with criminal prosecution for possessing FRTs, including



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contacting at least ten National Association for Gun Rights members, in apparent violation of the

preliminary injunction. Pls.’ App’x 294 (Declaration of Ryan Flugaur). This constitutes a more

than de minimis harm justifying a permanent injunction.

         Second, as the Court previously found, Plaintiffs face irreparable economic compliance

costs “stem[ming] from the Hobson’s choice Plaintiffs still face: continue to exercise ownership

and constitutionally protected freedoms while risking federal prosecution or forfeit those freedoms

to avoid civil and criminal consequences.” Pls.’ App’x 99, Opinion and Order at 34. Likewise,

Plaintiffs are still concerned with the harm derived from the loss of use and enjoyment of their

property, even for a limited period of time.

         Defendants may argue that vacatur is sufficient to address Plaintiffs’ concerns. As

discussed more infra 22-23, vacatur alone is insufficient. First, Defendants have advanced at least

six different regulatory interpretations to justify their criminalization of FRTs.13 If the Court

vacates one or all of these impermissible interpretations, there is every reason to worry Defendants

will simply proffer yet another specious formulation. Second, Defendants have evinced an

intention to engage in intercircuit nonacquiescence. Associational Plaintiffs have members in

other judicial circuits. It is not clear that Defendants will treat a vacatur as binding outside of the

Fifth Circuit. Finally, Defendants have repeatedly violated the spirit—and quite possibly the

letter—of the preliminary injunction by repeatedly contacting National Association for Gun Rights

members after the issuance of the injunction. This Court’s injunctive relief is an order the

Government must obey, not a mere affirmative defense to be asserted by National Association for


13
   See 27 CFR § 479.11 (Defining “function of the trigger” as a “single pull of the trigger and analogous motions.”);
Pls.’ App’x 112-177, ATF’s FRT Report, July 15, 2021 (“continuous pull”); Pls.’ App’x 179-193, ATF’s WOT
Report, October 21, 2021 (“constant rearward pressure”); Pls.’ App’x 197-253, ATF’s FRT Report, April 27, 2023,
at 5; Pls.’ App’x 299, Prelim. Inj. Hr’g. Tr. 162:1-4, United States v. Rare Breed Triggers, LLC, et al., No. 23-cv-369
(NRM) (RML), 2023 WL 5689770 (E.D.N.Y. Aug. 1, 2023) (“constant rearward pull” or “single function of the
trigger means single pull of the trigger”); Pls.’ App’x 278, Prelim. Inj. Hr’g. Tr. 130:10-17 (“initiation of the firing
sequence” plus “constant rearward pressure.”).


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Gun Rights members. Plaintiffs have a solid basis for concern that Defendants will take a similarly

self-serving and permissive approach to anything short of a clear, binding permanent injunction.

           e.      Balance of Hardships and Public Interest

       Regarding the third and fourth factors, the ongoing and future injuries sustained by

Plaintiffs outweigh any harms to Defendants as Defendants have no “interest in the perpetuation

of unlawful agency action.” League of Women Voters of United States, v. Newby, 838 F.3d 1, 12

(D.C. Cir. 2016). Rather, there is a “public interest in having governmental agencies abide by the

federal laws that govern their existence and operations.” Washington v. Reno, 35 F.3d 1093, 1103

(6th Cir. 1994). The aim of an injunction is remedial, not punitive. Hodgson v. First Fed. Sav.&

L. Ass’n of Broward Cty., Fla, 455 F.2d 818, 826 (5th Cir. 1972).

       The Court previously noted that there is also an interest in ensuring that the government

adheres to its constitutional and statutory obligations. Polymer80, Inc. v. Garland, 4:23-cv-00029-

0, 2023 WL 3605430, at *11 (N.D. Tex. Mar. 19, 2023). It is not unduly burdensome to the

Defendants to obey the law. Hodgson, 455 F.2d at 826. Indeed, there is undoubtedly “an overriding

public interest [in] . . . an agency’s faithful adherence to its statutory mandate.” Jacksonville Port

Auth. v. Adams, 556 F.2d 52, 59 (D.C. Cir. 1977). And “[t]he public interest is served when

administrative agencies comply with their obligations under the APA.” N Mariana Islands v.

United States, 686 F. Supp. 2d 7, 21 (D.D.C. 2009).

       In view of the undisputed facts, because FRTs are not machineguns under the proper

interpretation of the statute, Plaintiffs are entitled to a declaratory judgment of the same and

appropriate injunctive relief.




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   V.      SCOPE OF RELIEF

        Permanent relief in this case must be broad enough to fully protect the parties before the

Court. The standard remedy for an APA violation is vacatur. The ATF’s classification of FRTs

as “machineguns” should be vacated.          In addition, given Defendants’ constantly shifting

justifications and repeated efforts to continue to enforce their ultra vires interpretation of law—

even after a preliminary injunction was issued—Defendants should be permanently enjoined from

attempting to seize FRTs. Defendants have made plain that they intend to play right up to the

line—and likely over it—in contacting National Association for Gun Rights members and

demanding they surrender their FRTs or risk criminal penalties.      Thus, it is necessary to expand

the scope of any injunction beyond that in the Court’s preliminary injunction. Finally, Defendants

should be required to return any property confiscated or seized pursuant to their void classification

and to mail corrective notices to people targeted with “warning” letters inaccurately claiming

possessing a forced reset trigger violated the law.

           a.      The ATF’s Classification of FRTs as “Machineguns” Must be Vacated

        “The default rule is that vacatur is the appropriate remedy.” Data Marketing Partnership,

LP v. United States Department of Labor, 45 F.4th 846, 859 (5th Cir. 2022). The APA provides

that “[t]he reviewing court shall . . . hold unlawful and set aside agency action, findings, and

conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A) (emphasis added). Thus, “district courts have a duty

to vacate unlawful agency actions.” Franciscan All., Inc. v. Azar, 414 F. Supp. 3d 928, 945 (N.D.

Tex. 2019); see also VanDerStok v. Garland, Case No. 4:22-cv-00691, 2023 WL 45359591 at *18

(N.D. Tex. June 30, 2023) (“Vacatur is appropriate given the Court’s conclusion that the ATF

exceeded its statutory authority. An illegitimate agency action is void ab initio and therefore




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cannot be remanded as there is nothing for the agency to justify.”). Thus, the ATF’s classification

of FRTs as “machineguns” must be declared to be unlawful and expressly vacated.

       This is not a case where there is a specific regulation at issue. Instead, there is a litany of

constantly shifting agency justifications that seem purpose-driven to reach the same result:

concluding FRTs are “machineguns,” regardless of the applicable statutory language.

Accordingly, the agency action that is vacated should not be a specific justification. Rather, it

should be Defendants’ impermissible action: the improper classification of FRTs.

           b.      Defendants Should be Enjoined from Continuing Their Enforcement
                   Campaign Against Law Abiding FRT Owners

       This Court should also enter a permanent injunction preventing Defendants from seeking

to enforce its unlawful interpretation against any law-abiding citizen.

       While vacatur is the “default rule,” it is not the only remedy available. “A ‘court may grant

a permanent injunction without a trial on the merits if there are no material issues of fact and the

issues of law have been correctly resolved.’” Franciscan Alliance, Inc. v. Becerra, 553 F.Supp.3d

361, 368 (N.D. Tex. 2021) (quoting Calmes v. United States, 926 F. Supp. 582, 591 (N.D. Tex.

1996)), aff’d in part 47 F.4th 368 (5th Cir. 2022). Courts grant permanent injunctions on

“essentially the same” standards as for preliminary injunctions, with the exception that “unlike for

a preliminary injunction, a plaintiff seeking a permanent injunction ‘must demonstrate actual

success on the merits.’” Id. (quoting Millennium Rests. Grp., Inc. v. City of Dallas, 191 F.Supp.2d

802, 809 (N.D. Tex. 2002)).

       As described above and in the Court’s Order and Opinion on preliminary injunction,

Plaintiffs satisfy the standards for injunction. They have demonstrated actual success on the

merits. They will be irreparably harmed by Defendants’ continued efforts to enforce an illegal

interpretation. And the balance of harms and public interest favors Plaintiffs.



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         In this case, injunction is appropriate to ensure that Plaintiffs are fully protected from

unlawful government action.              Defendants have advanced at least six different regulatory

interpretations to justify their criminalization of FRTs.14 With the Fifth Circuit having struck down

their regulatory interpretation as unlawful, Defendants have now disclaimed/distanced themselves

from it and say they no longer rely on regulatory authority (§§ 479.11, et al.) as the basis for their

actions. Pls.’ App’x 274, Prelim. Inj. Hr’g. Tr. 105:1-23. Instead, their position is that the statute

should be interpreted for “single function of the trigger” to mean “initiation of the firing sequence”

and “constant rearward pressure.” Pls.’ App’x 278, Prelim. Inj. Hr’g. Tr. 130:10-17. The

Defendants argue this interpretation is consistent with Cargill, Pls.’ App’x 280-282, Prelim. Inj.

Hr’g. Tr. 135:10-137:20, but this Court has rejected that argument. Pls.’ App’x 92, Opinion and

Order at 27. If the Court vacates one or all of these impermissible interpretations, there is every

reason to worry Defendants will simply proffer yet another specious formulation. Thus, with

Defendants having untethered themselves from the ATF’s own regulations, vacatur of the

regulation alone would be ineffective to provide relief from the ATF’s everchanging, but

nevertheless improper, statutory interpretation and unlawful actions. Accordingly, a permanent

injunction is appropriate and needed.

         Moreover, Defendants’ arguments and conduct suggests they believe there is a split

between district courts that influences picking and choosing which judicial decisions they will

follow and to what extent. Pls.’ App’x 534-535, Prelim. Inj. Hr’g Tr. 138:23-139:13. In the absence

of a permanent injunction, it is likely—indeed, probable—that Defendants will engage in


14
   See 27 CFR § 479.11 (Defining “function of the trigger” as a “single pull of the trigger and analogous motions.”);
Pls.’ App’x 112-177, ATF’s FRT Report, July 15, 2021 (“continuous pull”); Pls.’ App’x 179-193, ATF’s WOT
Report, October 21, 2021 (“constant rearward pressure”); Pls.’ App’x 197-253, ATF’s FRT Report, April 27, 2023,
at 5; Pls.’ App’x 299, Prelim. Inj. Hr’g. Tr. 162:1-4, United States v. Rare Breed Triggers, LLC, et al., No. 23-cv-369
(NRM) (RML), 2023 WL 5689770 (E.D.N.Y. Aug. 1, 2023) (“constant rearward pull” or “single function of the
trigger means single pull of the trigger”); Pls.’ App’x 278, Prelim. Inj. Hr’g. Tr. 130:10-17 (“initiation of the firing
sequence” plus “constant rearward pressure.”).


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intercircuit nonacquiescence and view this Court’s vacatur as geographically limited to the Fifth

Circuit, if not the Northern District of Texas. This is problematic for Plaintiffs.

       First, at least one Individual Plaintiff, Plaintiff Carey, does not live in the Northern District

of Texas. Second, Associational Plaintiff National Association for Gun Rights has members

throughout the country. Geographically limited relief does not provide protection to all of their

members.

       This is not a hypothetical problem. Plaintiffs requested an injunction preventing

Defendants from sending “Notice Letters” or other similar communications to known or suspected

owners, sellers, and manufacturers of FRTs stating that FRTs are machineguns, requesting that

any person “voluntarily” surrender their FRTs to the government based upon the claim that FRTs

are machineguns, or otherwise interfering in the possession or exchange of FRTs is to ensure

Plaintiffs’ quiet enjoyment of their lawful property and prevent Defendants from seeking to

jawbone Plaintiffs into surrendering their property through not-so-subtle intimidation.

       Defendants’ conduct indicates that they have no intention of allowing citizens to quietly

and lawfully enjoy their property. Rather than leaving Plaintiffs’ members alone and unmolested,

Defendants have treated the preliminary injunction as an affirmative defense at best and polite

suggestion at worst. Since the entry of the preliminary injunction alone, Defendants have

contacted and threatened criminal enforcement against at least ten National Association for Gun

Rights members. App’x at 294 (Declaration of Flugaur ¶ 3).

       Rather than abiding by the Courts’ preliminary injunction, Defendants have demanded that

Plaintiffs provide their membership lists or face continued harassment. See Pls.’ App’x 258,

Notice of Compliance at 5 (“Unless Plaintiffs are willing to provide ATF advance notice of those

covered by the Preliminary Injunction, e.g., by sharing membership lists or lists of members at the




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time the injunction issued who state that they possess these devices and seek the protection of the

injunction, ATF cannot guarantee that agents will not inadvertently contact persons subject to the

Preliminary Injunction.”).

       Plaintiffs should not be required to trade their First Amendment rights for the quiet

enjoyment of their Second and Fifth Amendment rights. “It is hardly a novel perception that

compelled disclosure of affiliation with grounds engaged in advocacy may constitute as effective

a restrain on freedom of association as [other] forms of governmental action.” NAACP v. Alabama

ex rel. Patterson, 357 U.S. 449, 462 (1958). Indeed, “[e]ffective advocacy of both public and

private points of view, particularly controversial ones, is undeniably enhanced by group

association.” Id. at 460. As such, “disclosure requirement[s] impose[] a widespread burden on

donors’ associational rights. And this burden cannot be justified . . ..” Americans for Prosperity v.

Bonta, 141 S. Ct. 2373, 2389 (2021).

       Defendants have shown that they are unwilling to faithfully abide by a narrowly drawn

preliminary injunction. Thus, it is necessary for this Court to enter a broader permanent injunction

that is not specifically limited to Associational Plaintiffs’ members in order to protect against the

continued violation of Plaintiffs’ Second, First, and Fifth Amendment rights.

       Finally, a broader injunction is appropriate given the nature of this case. This case presents

a narrow issue that is purely legal; it is not fact-dependent and will not vary from one locality to

another. A narrow question of law such as is present here is more likely to lend itself to broader

injunctive relief, particularly where the court has made a final determination that the agency acted

beyond the scope of it power and had taken widespread enforcement actions nationwide based on

its unlawful interpretation. City of Chicago v. Sessions, 888 F.3d 272, 290 (7th Cir. 2018).




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        There are some legal issues which benefit from consideration in multiple courts—such as

issues as to the reasonableness of searches or the excessiveness of force—for which the context of

different factual scenarios will better inform the legal principle. Id. at 291. But a determination as

to the plain meaning of a sentence in a statute is not such an issue. Id. For that issue, the duplication

of litigation will have little, if any, beneficial effect. Moreover, the public interest would be ill-

served here by requiring simultaneous litigation of this narrow question of law in countless

jurisdictions.

        This Court should enter a permanent injunction that protects Plaintiffs and other similarly

situated individuals and entities from continued governmental harassment. It should not allow

Defendants to condition their compliance with a binding judicial order protecting Plaintiffs Second

Amendment rights on surrendering their First and Fifth Amendment rights.

            c.      Return of Seized Triggers

        This Court’s Preliminary Injunction required Defendants not to destroy any seized or

voluntarily surrendered FRTs. This preserved the status quo so that the wrongfully seized property

could be returned to its rightful owners. With the entry of final judgment that the ATF’s statutory

interpretation—which was the basis for these seizures—was unlawful, that property should be

returned promptly to its rightful owners at the location where it was wrongfully taken. Such a

mandate would be remedial, not punitive. Any burden to the agency of compliance is a product of

its own doing and no further unrecoverable costs should be imposed on the innocent victims.

            d.      Corrective Notices to FFLs and Individuals

        Defendants (particularly the ATF) undertook a widespread, extensive, and unlawful

campaign to chill citizens’ exercise of their rights. This was not merely by advertising or website

publication, but was in the form of specific, targeted letters sent to specific, individual recipients.




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One example of the individual (“Notice Letters”) letters has been presented (see Pls.’ App’x 265-

269). Defendants do not deny that an untold number of similar letters were delivered to individuals

and entities. Another example was sent as recently as October 20, 2023, to Nick Barry. Pls.’ App’x

286-289; see also Pls.’ App’x 290-293. The Notice Letters display the heading:

                                       WARNING NOTICE

                     YOU MAY BE IN VIOLATION OF FEDERAL LAW

        The letter states that ATF obtained information identifying the recipient as an FRT

purchaser from seller information (e.g., a Gunbroker.com account or Tommy Triggers). The letter

further states that “[t]his letter notifies you that the unlawful receipt and possession of any of these

devices is a felony violation of Federal law” and the continued possession “could result in

prosecution for criminal violations of Federal law.” Id.

        On March 22, 2022, ATF issued and distributed an “Open Letter to All Federal Firearms

Licensees” (the “Open Letter”). See Pls.’ App’x 195-196. The Open Letter advised that the ATF

“recently examined devices commonly known as ‘forced reset triggers’ (FRTs)” and “determined

that some of them are ‘firearms’ and ‘machineguns’ as defined in the [GCA]” (emphasis added).

The Open Letter further explained that “ATF’s examination found that some FRT devices allow

a firearm to automatically expel more than one shot with a single, continuous pull of the trigger”

and that “any FRT that allows a firearm to automatically expel more than one shot with a single,

continuous pull of the trigger is a ‘machinegun.’” Id. (emphasis added).

        Regardless of whether the intent was benign or malicious, these were directed mailing

campaigns of misinformation. Mere publicity of the fact that the ATF’s threats were false and

unlawful is not sufficient to correct the specifically targeted letters, and similarly distributed

corrective notices are appropriate. No statute or Congressional directive required the ATF to




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undertake its direct notification campaign. It was undertaken to chill legal behavior by

discouraging possession, sale, or manufacture of FRTs under the false pretense that they were

illegal machineguns. Thus, requiring corrective notification to the same recipients of the ATF’s

targeted mailing campaign and in the same manner is appropriate and is neither unduly

burdensome nor punitive to the agency. Again, this mandate would be remedial, not punitive, and

any compliance costs to the agency are of their own making.

           e.      Injunctive Relief Protecting the Rare Breed Parties from Criminal
                   Liability

       In its Opinion and Order, the Court carved out an exception to the preliminary injunctive

relief it ordered for National Association for Gun Rights and Texas Gun Rights members. The

Court was concerned about treading upon the prerogatives of its sister court in an E.D.N.Y. civil

lawsuit filed by the Justice Department. See Pls.’ App’x 490, United States v. Rare Breed

Triggers, LLC, No. 23-cv-369 (NRM) (RML) (E.D.N.Y.) (“E.D.N.Y. Lawsuit”). It therefore

concluded that the parties to the E.D.N.Y Lawsuit, if members of the associational plaintiffs here,

should not benefit from the Court’s preliminary injunction. Pls.’ App’x 43-44.

       Lawrence DeMonico, Kevin Maxwell, Rare Breed Triggers, LLC, and Rare Breed

Firearms, LLC (collectively, “Rare Breed Parties”) are indeed members of NAGR and also

defendants in the E.D.N.Y. Lawsuit. (Pls.’ App’x 541 [Declaration of Ryan Flugaur ¶3]).

Plaintiffs do not take issue with the Court’s desire to respect the jurisdiction of the E.D.N.Y.

Nevertheless, in one discrete aspect, Plaintiffs request that the Court enter a permanent injunction

that respects the E.D.N.Y. decision while providing some relief to the Rare Breed Parties that is

outside of the scope of the E.D.N.Y.’s civil claims and potential remedies.

       The E.D.N.Y. Lawsuit alleges that the Rare Breed Parties defrauded their customers by

stating that their brand of FRTs is not a “machinegun” and engaged in a Klein conspiracy by,



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among other things, not ceasing to sell the device when the ATF stated its conclusion the device

is a machinegun. Pls.’ App’x 512-525. The E.D.N.Y. Lawsuit does not include any accusations

that the Rare Breed Parties engaged in criminal conduct that the E.D.N.Y. Lawsuit would or could

adjudicate. Accordingly, an injunction protecting the Rare Breed Parties from criminal

prosecution based on the theory that FRTs are machineguns would not conflict with the

E.D.N.Y.’s proceedings.

       Plaintiffs in this case have demonstrated that the government is threatening criminal

prosecutions for those in possession of FRTs on the theory that FRTs are machineguns. The Court

has already preliminarily concluded that the government should generally be enjoined from

prosecuting Plaintiffs on that theory. Pls.’ App’s 42 (enjoining Defendants from “[i]nitiating or

pursuing criminal prosecutions for possession of FRTs” and from “[i]nitiating or pursuing

criminal prosecutions for representing to the public of potential buyers and sellers that FRTs are

not machineguns”).

        Additionally, the Rare Breed Parties do not live in New York and are not organized under

the laws of New York. To the contrary, at least two of the Rare Breed Parties live or are organized

in Texas, within the Fifth Circuit.

       Thus, notwithstanding the civil claim allegations in the E.D.N.Y. against the Rare Breed

Parties, there is no reason why the Rare Breed Parties should not similarly be protected from

criminal enforcement based on a concern over the jurisdiction of the court in the E.D.N.Y.

Lawsuit. This Court’s respect for a sister court’s civil proceedings on fraud theories should not

leave the Rare Breed Parties vulnerable to criminal prosecution based on an agency classification

that this Court has concluded is contrary to law.




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       Consequently, Defendants should be enjoined from initiating any criminal prosecutions

against the Rare Breed Parties related to their possession, manufacture, or sale of FRTs.

                                         CONCLUSION

       For the reasons stated above, Plaintiffs are entitled to summary judgment and (1) a

declaration that holds unlawful and sets aside the AFT’s finding that FRTs are “machineguns” and

vacates Defendants’ unlawful classification of FRTs as “machineguns;” (2) permanent injunctive

relief preventing Defendants, along with their respective officers, agents, servants, and employees,

from implementing or enforcing against the parties in this lawsuit and all similarly situated persons

or entities, in any civil or criminal manner, the ATF’s expanded definition of “machinegun” that

this Court has determined is unlawful; (3) the return of all seized FRTs and FRT components; (4)

the mailing of corrective notices to persons targeted by the ATF’s prior mailing campaign; and (5)

permanent injunctive relief preventing Defendants from initiating any criminal prosecutions

against the Rare Breed Parties related to their possession, manufacture, or sale of FRTs on the

grounds that FRTs are “machineguns.”


Date: November 3, 2023                                Respectfully submitted,

                                                      /s/ Whitney A. Davis
                                                      Whitney A. Davis (TX Bar No. 24084843)
                                                      Ben Sley (TX Bar No. 18500300)
                                                      EGGLESTON KING DAVIS, LLP
                                                      102 Houston Avenue, Suite 300
                                                      Weatherford, TX 76086
                                                      Telephone: (703) 748-2266
                                                      whit@ekdlaw.com
                                                      ben@ekdlaw.com




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                                                        Jonathan M. Shaw (VA Bar No. 98497)
                                                        Gary M. Lawkowski (VA Bar No. 82329)
                                                        David A. Warrington (VA Bar No. 72293)
                                                        DHILLON LAW GROUP, INC.
                                                        2121 Eisenhower Avenue, Suite 608
                                                        Alexandria, VA 22314
                                                        Telephone: (703) 748-2266
                                                        Facsimile: (415) 520-6593
                                                        jshaw@dhillonlaw.com
                                                        glawkowski@dhillonlaw.com
                                                        dwarrington@dhillonlaw.com

                                                        Glenn Bellamy (OH Bar No. 0070321)
                                                        WOOD HERRON & EVANS LLP
                                                        600 Vine Street, Suite 2800
                                                        Cincinnati, OH 45202
                                                        Telephone: 513-707-0243
                                                        gbellamy@whe-law.com



                                   CERTIFICATE OF SERVICE
          I hereby certify that I electronically filed the foregoing with the Clerk of the Court using

the CM/ECF system, which will send a notification of such filing to all counsel of record in this

action.

   Date: November 3, 2023

                                                               By: /s/ Whitney A. Davis
                                                               Whitney A. Davis




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